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                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH]

                                     Debtors. 1                          (Jointly Administered)


   NOTICE OF AGENDA FOR HEARING ON DECEMBER 20, 2023 AT 3:00 P.M.
(PREVAILING EASTERN TIME2) BEFORE THE HONORABLE THOMAS M. HORAN
    IN THE U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE

    This hearing will be conducted via Zoom only before the Honorable Thomas M. Horan, in
     the United States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd
                Floor, Courtroom #7. All parties are expected to attend via Zoom.
                      All participants must register at the Zoom link below.

https://debuscourts.zoomgov.com/meeting/register/vJItcemvpjIsHOwdr1ouDQKa3PPgdrWX3J4

          MATTERS GOING FORWARD:

          1. Motion for (I) an Order (A) Approving Bid Procedures for the Sale of the Debtors
             Brand Assets; (B) Approving Certain Bid Protections in Connection with the Debtors
             Entry into Any Potential Stalking Horse Agreements; (C) Scheduling the Auction and
             Sale Hearing; (D) Approving the Form and Manner of Notice Thereof; and [E)
             Granting Related Relief; and (II) An Order or Orders (A) Approving the Sale of the
             Debtors Brand Assets Free and Clear Of All Encumbrances; and (B) Approving the
             Assumption and Assignment of Executory Contracts and Unexpired Leases [Filed
             September 18, 2023, Docket No. 316].

          Response Deadline: December 18, 2023 [Docket No. 926].

          Responses Received:

                   a.        Limited Objection and Reservation of Rights of Sakana, LLC as to Debtors
                             Motion for (I) An Order (A) Approving Bid Procedures for The Sale of The
                             Debtors Brand Assets; (B) Approving Certain Bid Protections in
                             Connection with The Debtors Entry into Any Potential Stalking Horse
                             Agreements; (C) Scheduling The Auction and Sale Hearing; (D) Approving

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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.
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      All motions and other pleadings referenced herein are available online at the following web address:
      https://cases.stretto.com/Amyris.

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                             The Form and Manner of Notice Thereof; and (E) Granting Related Relief;
                             and (II) An Order or Orders (A) Approving The Sale of The Debtors Brand
                             Assets Free and Clear of All Encumbrances; and (B) Approving The
                             Assumption and Assignment of Executory Contracts and Unexpired Leases
                             [Filed December 11, 2023, Docket No. 878].

        Related Documents:

                             [Signed] Order (A) Approving Bid Procedures for the Sale of the Debtors’
                             Brand Assets; (B) Approving Certain Bid Protections In Connection with
                             the Debtors’ Entry Into Any Potential Stalking Horse Agreements; (C)
                             Scheduling the Auction and Sale Hearing; (D) Approving the Form and
                             Manner of Notice Thereof; and [E) Granting Related Relief [Filed October
                             16, 023, Docket No. 553].

                             Notice of Extension of Certain Sale-Related Deadlines [Filed October 29,
                             023, Docket No. 628].

                             Notice of Auction for the Debtors’ JVN, Stripes, and Rose, Inc. Brand
                             Assets [Filed December 10, 2023, Docket No. 861].

                             Notice of Filing of Successful Bidder and Auction Results for Sale of JVN
                             Brand Assets [Filed December 14, 2023, Docket No. 908].

                             Notice of Filing of Successful Bidder and Auction Results for Sale of
                             Pipette Brand Assets [Filed December 12, 2023, Docket No. 909].

                             Amended Notice of Filing of Successful Bidder and Auction Results for
                             Sale of JVN Brand Assets [Filed December 12, 2023, Docket No. 911].

                             Amended Notice of Filing of Successful Bidder and Auction Results for
                             Sale of JVN Brand Assets [Filed December 14, 2023, Docket No. 912].

                             Limited Objection to the JVN Consumer Brand Sale, Demand for Adequate
                             Assurance and Reservation of Rights of Quiet Logistics, Inc. [Filed
                             December 4, 2023, Docket No. 921].

                             Notice of Filing of Successful Bidder and Auction Results for Sale of
                             Stripes Brand Assets [Filed December 15, 2023, Docket No. 923].

                             Notice of Filing of Successful Bidder and Auction Results for Sale of Rose
                             Brand Assets [Filed December 15, 2023, Docket No. 924].

                             Notice of Hearing on Sale of the Debtors’ JVN, Pipette, Rose and Stripes
                             Brand Assets [Filed December 15, 2023, Docket No. 926].

        Status: This matter is going forward.




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        2. Motion for (I) an Order (A) Approving Bid Procedures for the Sale of the Debtors’
           Lab-to-Market Assets; (B) Setting Minimum Reserve Price; (C) Scheduling the
           Auction and Sale Hearing; (D) Approving the Form and Manner of Notice Thereof;
           and (E) Granting Related Relief; and (II) an Order or Orders (A) Approving the Sale
           of the Debtors’ Lab-to-Market Assets Free and Clear of All Encumbrances; and (B)
           Approving the Assumption and Assignment of Executory Contracts and Unexpired
           Leases [Filed December 14, 2023, Docket No. 917].

        Response Deadline: December 19, 2023.

        Responses Received: None.

        Related Documents:

                             Motion to Shorten Notice Period and Schedule Hearing with Respect to the
                             Motion for (I) an Order (A) Approving Bid Procedures for the Sale of the
                             Debtors’ Lab-to-Market Assets; (B) Setting Minimum Reserve Price; (C)
                             Scheduling the Auction and Sale Hearing; (D) Approving the Form and
                             Manner of Notice Thereof; and (E) Granting Related Relief; and (II) an
                             Order or Orders (A) Approving the Sale of the Debtors’ Lab-to-Market
                             Assets Free and Clear of All Encumbrances; and (B) Approving the
                             Assumption and Assignment of Executory Contracts and Unexpired Leases
                             [Filed December 12, 2023, Docket No. 918].

                             [Signed] Order Shortening Notice Period and Scheduling Hearing With
                             Respect to the Motion for (I) an Order (A) Approving Bid Procedures for
                             the Sale of the Debtors’ Lab-to-Market Assets; (B) Setting Minimum
                             Reserve Price; (C) Scheduling the Auction and Sale Hearing; (D)
                             Approving the Form and Manner of Notice Thereof; and (E) Granting
                             Related Relief; and (II) an Order or Orders (A) Approving the Sale of the
                             Debtors’ Lab-to-Market Assets Free and Clear of All Encumbrances; and
                             (B) Approving the Assumption and Assignment of Executory Contracts and
                             Unexpired Leases [Filed December 15, 2023, Docket No. 920].

                             Notice of Hearing re Debtors’ Motion for (I) an Order (A) Approving Bid
                             Procedures for the Sale of the Debtors’ Lab-to-Market Assets; (B) Setting
                             Minimum Reserve Price; (C) Scheduling the Auction and Sale Hearing; (D)
                             Approving the Form and Manner of Notice Thereof; and (E) Granting
                             Related Relief; and (II) an Order or Orders (A) Approving the Sale of the
                             Debtors’ Lab-to-Market Assets Free and Clear of All Encumbrances; and
                             (B) Approving the Assumption and Assignment of Executory Contracts and
                             Unexpired Leases [Filed December 15, 2023, Docket No. 925].

        Status: This matter is going forward.




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 Dated: December 18, 2023                 PACHULSKI STANG ZIEHL & JONES LLP

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